                            Case No. 24-1464

             In the United States Court of Appeals
                     For the Eighth Circuit

                            MARIO MANCINI,

                               APPELLANT,

                                     V.


                    UNITED STATES OF AMERICA,

                                APPELLEE.


                          Appeal from the
                 United States District Court for the
                       District of Minnesota


                          BRIEF OF APPELLEE


                                      ANDREW M. LUGER
                                        United States Attorney

                                      David W. Fuller
                                      Lucas B. Draisey
                                        Assistant U.S. Attorneys

                                      U.S. Attorney’s Office
                                      District of Minnesota
                                      600 U.S. Courthouse
                                      300 South Fourth Street
                                      Minneapolis, MN 55415
                                      (612) 664-5600

                                      Attorneys for Appellee



Appellate Case: 24-1464    Page: 1   Date Filed: 07/17/2024 Entry ID: 5414272
                      SUMMARY OF THE CASE

      Plaintiff Mario Ferbo Mancini failed to support his medical

malpractice claim with valid expert testimony. The district court

granted summary judgment for the United States, holding that Dr.

Gary Wyard’s broad and conclusory expert-disclosure affidavit “does

not meet the level of specificity required by Minnesota law,” and

dismissed the action under Minnesota’s certificate-of-merit statute.

      The court also held that Dr. Wyard’s affidavit was inadmissible

under Rule 702 and the Daubert line of cases. The expert’s opinions,

the court correctly held, were based on alleged facts that were

unsupported or contradicted by the record evidence, and he failed to

explain the principles or methodology underlying his analysis. The

court properly excluded the testimony of Mancini’s only expert

witness, requiring summary judgment.

      This Court can affirm the district court’s summary-judgment

order without oral argument. But if oral argument would assist the

Court in deciding the issues, the United States requests 15 minutes to

present its arguments.




                                      i
Appellate Case: 24-1464   Page: 2   Date Filed: 07/17/2024 Entry ID: 5414272
                               TABLE OF CONTENTS


SUMMARY OF THE CASE................................................................... i

TABLE OF CONTENTS ....................................................................... ii

TABLE OF AUTHORITIES ................................................................ iv

STATEMENT OF THE ISSUES .......................................................... 1

STATEMENT OF THE CASE .............................................................. 2

I.     Factual Background .................................................................... 2

II.    Procedural History....................................................................... 9

SUMMARY OF THE ARGUMENT.................................................... 15

ARGUMENT ....................................................................................... 17

I.     The district court did not abuse its discretion by excluding
       Dr. Wyard’s opinions under Rule 702. ...................................... 17

       A.      Standard of Review........................................................... 17
       B.      The district court properly exercised its discretion by
               excluding Dr. Wyard’s opinions under Rule 702 and
               Daubert. ............................................................................ 17

II.    Mancini’s expert affidavit failed to comply with Minnesota
       substantive law. ......................................................................... 25

       A.      Standard of Review........................................................... 25
       B.      Dr. Wyard’s broad and conclusory affidavit fails to
               meet the requirements of section 145.682. ...................... 26
       C.      The district court did not abuse its discretion by
               imposing the statute’s “mandatory dismissal with
               prejudice” remedy. ............................................................ 38

III.   The district court correctly limited its analysis to the
       material facts. ............................................................................ 39



                                                 ii
Appellate Case: 24-1464         Page: 3        Date Filed: 07/17/2024 Entry ID: 5414272
       A.      Standard of Review........................................................... 39
       B.      Mancini’s nonexpert speculation does not create a
               material factual dispute. .................................................. 40

CONCLUSION.................................................................................... 41

CERTIFICATE OF COMPLIANCE ................................................... 43




                                               iii
Appellate Case: 24-1464         Page: 4      Date Filed: 07/17/2024 Entry ID: 5414272
                            TABLE OF AUTHORITIES


Cases
Anderson v. Liberty Lobby, Inc.,
 477 U.S. 242 (1986) ..................................................................... 1, 40

Anderson v. Rengachary,
 608 N.W.2d 843 (Minn. 2000) ............................................. 28, 29, 35

Bivens v. Six Unknown Fed. Narcotics Agents,
  403 U.S. 388 (1971) ........................................................................... 9

Bland v. Verizon Wireless, (VAW) L.L.C.,
  538 F.3d 893 (8th Cir. 2008) ........................................................... 24

Broehm v. Mayo Clinic Rochester,
  690 N.W.2d 721 (Minn. 2005) ......................................................... 27

Daubert v. Merrell Dow Pharmaceuticals, Inc.,
 509 U.S. 579 (1993) ........................................................................... 1

Flores v. United States,
  689 F.3d 894 (8th Cir. 2012) ..................................................... 26, 38

Gen. Elec. Co. v. Joiner,
  522 U.S. 136 (1997) ................................................................... 17, 24

Glastetter v. Novartis Pharms. Corp.,
  252 F.3d 986 (8th Cir. 2001) ........................................................... 24

Klisch v. Meritcare Med. Grp., Inc.,
  134 F.3d 1356 (8th Cir. 1998) ......................................................... 30

Knudsen v. United States,
 254 F.3d 747 (8th Cir. 2001) ........................................................... 32




                                                iv
Appellate Case: 24-1464         Page: 5       Date Filed: 07/17/2024 Entry ID: 5414272
Kumho Tire Co., Ltd. v. Carmichael,
  526 U.S. 137 (1999) ......................................................................... 18
Lauzon v. Senco,
  270 F.3d 681 (8th Cir. 2001) ....................................................... 1, 18

Leubner v. Sterner,
  493 N.W.2d 119 (Minn. 1992) ......................................................... 33

Lindberg v. Health Partners, Inc.,
  599 N.W.2d 572 (Minn. 1999) ................................................... 28, 34

Marmo v. Tyson Fresh Meats, Inc.,
 457 F.3d 748 (8th Cir. 2006) ..................................................... 21, 24

Mattke v. Deschamps,
 374 F.3d 667 (8th Cir. 2004) ..................................................... 28, 31

Oulelette v. Subak,
 391 N.W.2d 810 (Minn. 1986) ......................................................... 30

Rygwall, as Trustee for Rygwall v. ACR Homes, Inc.,
  6 N.W.3d 416 (Minn. 2024) ........................................................... 36, 37

Shipp v. Murphy,
  9 F.4th 694 (8th Cir. 2021) .............................................................. 19

Silver v. Redleaf,
  194 N.W.2d 271 (Minn. 1972) ..................................................... 1, 41

Sorenson v. St. Paul Ramsey Med. Ctr.,
  457 N.W.2d 188 (Minn. 1990) ................................................. passim

Spring Co. v. Edgar,
  99 U.S. 645 (1879) ........................................................................... 17

Stowell v. Huddleston,
  643 F.3d 631 (8th Cir. 2011) ......................................... 26, 28, 31, 40



                                                v
Appellate Case: 24-1464         Page: 6       Date Filed: 07/17/2024 Entry ID: 5414272
Stroud v. Hennepin County Med. Ctr.,
  556 N.W.2d 552 (Minn. 1996) ................................................. passim

Swanson v. Chatterton,
  160 N.W.2d 662 (Minn. 1968) ......................................................... 31
Teffeteller v. Univ. of Minn.,
  645 N.W.2d 420 (Minn. 2002) ................................................. passim

Turner v. Iowa Fire Equip. Co.,
  229 F.3d 1202 (8th Cir. 2000) ......................................................... 24

Unrein v. Timesavers, Inc.,
 394 F.3d 1008 (8th Cir. 2005) ......................................................... 23

Wall v. Fairview Hosp. and Healthcare Servs.,
 584 N.W.2d 395 (Minn. 1998) ......................................................... 19

Walton v. Jones,
 286 N.W.2d 710 (Minn. 1979) ......................................................... 15

Statutes
28 U.S.C. § 1346(b)(1) ......................................................................... 32

Minnesota Statutes § 145.682 .................................................... passim

Rules
Fed. R. Evid. 104(a) ............................................................................ 18

Fed. R. Evid. 702 ......................................................................... passim




                                                vi
Appellate Case: 24-1464          Page: 7      Date Filed: 07/17/2024 Entry ID: 5414272
                   STATEMENT OF THE ISSUES

      Did the district court abuse its discretion by concluding Dr.
      Wyard’s affidavit failed to meet Federal Rule of Evidence 702’s
      admissibility requirements?

      Fed. R. Evid. 702
      Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579
      (1993)
      Lauzon v. Senco, 270 F.3d 681 (8th Cir. 2001)

      Does Mancini’s broad and conclusory expert-disclosure affidavit
      comply with Minnesota Statutes Section 145.682?

      Minn. Stat. § 145.682
      Sorenson v. St. Paul Ramsey Med. Ctr., 457 N.W.2d 188 (Minn.
      1990)
      Teffeteller v. Univ. of Minn., 645 N.W.2d 420 (Minn. 2002)

      Did the district court abuse its discretion by imposing section
      145.682’s “mandatory dismissal with prejudice” remedy instead
      of extending discovery?

      Minn. Stat. § 145.682
      Sorenson v. St. Paul Ramsey Med. Ctr., 457 N.W.2d 188 (Minn.
      1990)
      Teffeteller v. Univ. of Minn., 645 N.W.2d 420 (Minn. 2002)

      Did the district court err by omitting alleged facts in the absence
      of expert testimony connecting those facts to the elements of
      Mancini’s malpractice claim?

      Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986)
      Stroud v. Hennepin County Med. Ctr., 556 N.W.2d 552 (Minn.
      1996)
      Silver v. Redleaf, 194 N.W.2d 271 (Minn. 1972)




                                     1
Appellate Case: 24-1464   Page: 8   Date Filed: 07/17/2024 Entry ID: 5414272
                     STATEMENT OF THE CASE

I.    Factual Background

      A.    Mancini has a long history of degenerative disc
            disease and cervical neck pain.

      Plaintiff Mario Mancini has been in state or federal custody since

2002, coming to the Federal Correctional Institution at Sandstone,

Minnesota (FCI Sandstone) in 2014. App. 281–82, R. Doc. 177-5 at 22–

23. He has suffered chronic neck, right shoulder, and right arm pain

since the 1990s. App. 274, R. Doc. 177-5 at 15; App. 340–41, R. Doc.

177-5 at 81–82; Jt. Supp. App. (“S.App.”) 105, R. Doc. 178-10 at 1.

      Mancini sought treatment for his condition repeatedly over the

years. E.g., App. 445–79, R. Doc. 177-6 at 56–90 (BOP medical records

showing treatment with ibuprofen, Motrin, gabapentin, and cortisone

injections); S.App. 105, R. Doc. 178-10 at 1 (Mancini describing some

of his historical treatment, including NSAIDs and “5-6 trigger point

injections”); see also R. Doc. 178-20–178-32 (Mancini’s medical records

showing course of treatment with BOP from 2009 through 2012). A

March 2010 MRI showed chronic degeneration in the disc spaces in

Mancini’s cervical spine. App. 481–82, R. Doc. 177-6 at 92.




                                     2
Appellate Case: 24-1464   Page: 9   Date Filed: 07/17/2024 Entry ID: 5414272
      B.     Mancini’s 2017 Lifting Injury

      Mancini reaggravated this longstanding injury in late June

2017. S.App. 105, R. Doc. 178-10 at 1. He reported to Health Services

on June 30 that he was experiencing pain, numbness, and tingling in

his right arm following a lifting event, stating these were “the exact

same sx [symptoms] as in the past.” S.App. 90, R. Doc. 178-3 at 1. In

this initial report, the nurse practitioner noted Mancini had “no loss

of function or strength.” Id.

      Mancini returned to Health Services the next day, complaining

of the “same symptoms that [he] had when [he] was seen yesterday.”

S.App. 84, R. Doc. 178-2 at 69. A Registered Nurse provided Mancini

ibuprofen and scheduled him to follow up with a physician a few days

later. S. App. 85, R. Doc. 178-2 at 70. Mancini presented to Dr. Thomas

Mayer1 on July 5, 2017, complaining of pain in his arms and numbness

and tingling in his fingers. S.App. 78, R. Doc. 178-2 at 63. Dr. Mayer

provided Mancini a trigger point injection to relieve the pain. Id.

Mancini also visited Physician Assistant Jenefer Southwick later that


      1 Dr. Mayer was a contract physician for FCI Sandstone, not a

federal employee, App. 50, R. Doc. 177-2 at 40, and the primary BOP
care provider for Mancini. App. 519, R. Doc. 177-7 at 37.


                                      3
Appellate Case: 24-1464   Page: 10   Date Filed: 07/17/2024 Entry ID: 5414272
day, who advised he continue ibuprofen and follow up as needed.

S.App. 75–76, R. Doc. 178-2 at 60–61.

       Mancini returned to Dr. Mayer July 20, 2017, more than two

weeks later. S.App. 70, R. Doc. 178-2 at 55. Dr. Mayer’s exam revealed

triceps weakness, and he ordered an expedited MRI. Id. Dr. Paul

Harvey2 approved the MRI that same day. App. 235, R. Doc. 177-3 at

101.

       C.    Mancini’s MRI showed very little change over the
             previous seven years.

       Mancini underwent an MRI on August 7, 2017. S.App. 103, R.

Doc. 178-9 at 1. The results showed multilevel spondylytic changes

with moderate right neuroforaminal narrowing at C5-6 and C6-7 but

“no cord compression.” Id. at 104, R. Doc. 178-9 at 2. It is undisputed

that this result represents “little change from the CT of the cervical

spine performed seven years earlier on March 26, 2010.” App. 839, R.

Doc. 179-1 at 30.




       2 Dr. Harvey was the Acting Clinical Director for FCI Sandstone

during 2017 and the Regional Medical Director for the BOP’s North
Central Region. App. 62, 71–72, R. Doc. 177-2 at 52, 61–62.


                                      4
Appellate Case: 24-1464   Page: 11   Date Filed: 07/17/2024 Entry ID: 5414272
      Three weeks later, Mancini consulted with Dr. Steven

Broadway,3 a neurosurgeon at Essentia Health in Duluth. S.App. 99,

R. Doc. 178-7 at 1. By this time, Mancini reported his pain was

improving. Compare S.App. 102, R. Doc. 178-8 (reporting “little pain”

in the “2-3” range and asking for work restrictions to be removed) with

S.App. 105, R. Doc. 178-10 (reporting pain in the “8-9-10” range two

months earlier). Dr. Broadway offered to perform an anterior cervical

discectomy and fusion (“ACDF”) at C5-6 and C6-7 of Mancini’s cervical

spine. S.App. 101, R. Doc. 178-7 at 3. He warned Mancini about the

known risks, including “damage to the . . . nerves/cord.” Id. Mancini

“didn’t care” about any potential risks of the surgery. App. at 339–40,

R. Doc. 177-5 at 80–81.

      Dr. Broadway did not specify a timeframe. App. 538, R. Doc. 177-

7 at 56; R. Doc. 178-6 at 3 (Dr. Broadway’s original consultation

report). Noting that “no timeline was recommended,” PA Southwick




      3 Dr. Broadway is not a federal employee. R. Doc. 66 at 13 (report

and recommendation to dismiss Bivens action against Dr. Broadway
“because he was not a federal employee when he committed the acts
or omissions Mancini complains of. Rather, he was a private
physician”), R. & R. adopted by R. Doc. 68.


                                      5
Appellate Case: 24-1464   Page: 12   Date Filed: 07/17/2024 Entry ID: 5414272
called Dr. Broadway’s office on August 31 “to get [a] more direct

schedule for surgery.” S.App. 108, R. Doc. 178-19 at 1. Essentia then

faxed an updated consultation report, this time including an

addendum noting that Dr. Broadway “recommends surgery within the

next 60 days,” or by approximately October 30. S.App. 101, R. Doc.

178-7 at 3; App. at 746, R. Doc. 177-8 at 116. Dr. Harvey approved the

ACDF surgery to be done in 90 days (or by November 30) or on the

first available date. S.App. 107, R. Doc. 178-18.

      D.     Mancini’s initial surgery was rescheduled.

      Scheduling an inmate for surgery outside the correctional

institution presents unique challenges. For example, given safety

concerns and the risk of an escape from custody, inmates generally

cannot know when they will be leaving the institution for medical

appointments. S.App. 2, R. Doc. 177-1 at 2. When an inmate is “NPO”

(nil per os, or nothing by mouth) before a medical procedure, telling

the inmate not to eat would alert him that he will be leaving the

institution. Id. The inmate is ordinarily placed in the Special Housing

Unit (SHU) without access to a telephone or email to prevent him from

coordinating an escape. Id.



                                      6
Appellate Case: 24-1464   Page: 13   Date Filed: 07/17/2024 Entry ID: 5414272
      Mancini’s surgery was first scheduled for October 18, 2017, to be

performed by Dr. Broadway. App. 151, R. Doc. 177-3 at 17. The

institution’s Health Services Assistant sent an email to lieutenants

and health staff at FCI Sandstone instructing the lieutenants to place

Mancini in SHU on Tuesday, October 17, 2017. S.App 8, R. Doc. 177-1

at 8. However, the attachment to that email inadvertently stated

Wednesday, October 18 instead of Tuesday, October 17, as indicated

in the body of the email. S.App. 13, R. Doc. 177-1 at 13. As a result,

Mancini was not placed in SHU on October 17 and was allowed to eat

before his scheduled surgery. The surgery therefore had to be

rescheduled.

      E.     Mancini underwent timely surgery in November
             2017.

      Mancini’s surgery was “rescheduled as quickly as [BOP] could”

accomplish it, “the soonest possible to get him in.” App. at 558, R. Doc.

177-7 at 76. At a November 9 preoperative visit with PA Southwick,

Mancini “reported [his] pain is gone.” S.App. 30, R. Doc. 178-2 at 15.

Mancini ultimately underwent surgery on November 27, 2017. S.App.

96, R. Doc. 178-5 at 1. He was discharged on November 30, 2017, three

days later. S.App 92, R. Doc. 178-4 at 1.


                                      7
Appellate Case: 24-1464   Page: 14   Date Filed: 07/17/2024 Entry ID: 5414272
      Mancini’s surgery occurred within the 90-day timeline approved

by Dr. Harvey. S.App 107, R. Doc. 178-18. Dr. Broadway, who

recommended and later performed Mancini’s surgery, never asserted

the rescheduled surgery was untimely. Because Mancini’s non-

emergent surgery occurred within 90 days after Dr. Broadway first

recommended it, the surgery was medically timely and stood a

reasonable chance of success. App. at 840, R. Doc. 179-1 at 31.

      F.     Mancini experienced new and worsening symptoms
             after his successful surgery.

      Several of Mancini’s alleged permanent injuries arose or

worsened only after his surgery. App. 304–06, R. Doc. 177-5 at 45–47.

Mancini experienced atrophy (the measurable loss of muscle volume)

for the first time two weeks after his surgery, when Dr. Mayer first

noted that symptom in Mancini’s right triceps on December 13, 2017.

S.App. 106, R. Doc. 178-17. No medical record documents atrophy

before that date, including during the preoperative exam and on the

date of surgery. App. 840, R. Doc. 179-1 at 31.




                                      8
Appellate Case: 24-1464   Page: 15   Date Filed: 07/17/2024 Entry ID: 5414272
      Atrophy typically manifests two weeks after a nerve injury. App.

841, R. Doc. 179-1 at 32. 4 Because Mancini’s atrophy arose for the first

time two weeks after the November 27, 2017, surgery is therefore

“highly likely” the cause of Mancini’s atrophy two weeks later. Id. This

adverse result is a known risk of this type of surgery. Id.; S.App. 101,

R. Doc. 178-7 (“Risks discussed” at Mancini’s neurosurgical

consultation      with     Dr.       Broadway      “include . . . damage          to

the . . . nerves/cords[.]”).

II.   Procedural History

      Mancini sued the United States, the BOP, and several medical

professionals under the Federal Tort Claims Act and Bivens v. Six

Unknown Fed. Narcotics Agents, 403 U.S. 388 (1971)-. R. Doc. 7 at 3.

The court dismissed all but the FTCA claim alleging medical

malpractice against the United States. R. Doc. 66, 68. The United




      4 The United States submitted the expert report of a neurologist,

Dr. Steven Trobiani, M.D. App. 810–47, R. Doc. 179-1. This report
remains unrebutted and undisputed.


                                        9
Appellate Case: 24-1464   Page: 16     Date Filed: 07/17/2024 Entry ID: 5414272
States then moved for summary judgment based on the inadequacy of

Mancini’s expert opinion. R. Doc. 175. 5

      After a hearing, the Magistrate Judge issued a thoughtful report

and recommendation (“R. & R.”). The R. & R. carefully recited the

undisputed, material facts, including specific citations to the medical

records and key deposition testimony, before recommending granting

the motion on two independent alternative grounds. See generally

Appellant’s Add. 1, App. 14, R. Doc. 189.

      The R. & R. concluded Mancini’s expert-disclosure affidavit by

Dr. Gary Wyard was inadmissible under Fed. R. Evid. 702 and

Daubert, for several reasons. First, the affidavit suffers from serious

factual deficiencies, including the erroneous statement that a key MRI

“showed spinal cord compression” when in fact it showed the exact

opposite. Id. at 8, App. 21, R. Doc. 189 at 8. The expert’s affidavit also

incorrectly attributed to Dr. Broadway the conclusion that Mancini

needed surgery “as soon as possible,” even though, the court found,



      5 The United States moved for summary judgment earlier, R.

Doc. 155, but Mancini served a superseding expert-disclosure
affidavit, R. Doc. 167, and the United States withdrew its earlier
motion, R. Doc. 170.


                                     10
Appellate Case: 24-1464   Page: 17   Date Filed: 07/17/2024 Entry ID: 5414272
“[n]owhere did any healthcare providers report that immediate

surgery was needed to avoid permanent damage.” Id. at 8-9, App. 21-

22, R. Doc. at 8–9. The R. & R. also made clear, however, that “the

Court does not find that the factual errors alone constitute a faulty

foundation such that exclusion is appropriate.” Id. at 9, App. 22, R.

Doc. at 9. Rather, the R. & R. called the factual errors “part of a larger

problem”—Dr. Wyard’s affidavit “fails to indicate the methodology he

used to reach his conclusions and leaves wholly unanswered the

question of how Defendant’s actions caused Plaintiffs’ injuries.” Id. Dr.

Wyard’s affidavit, the R. & R. reported, “fails to provide any reasoning

for his conclusions as to causation.” Id. at 10, App. 23, R. Doc. at 10.

“Dr. Wyard does not describe the standard of care, explain how

Defendant deviated from that standard of care, or identify why that

deviation led to Mancini’s injury.” Id. Taken together, the R. & R.

concluded, these failings render the opinion “too speculative and

unsupported to be admissible under Rule 702 and Daubert.” Id. at 9,

App. 22, R. Doc. at 9.

      The R. & R. identified additional failings. Dr. Wyard’s affidavit

fell short of the strict requirements of Minnesota’s statute governing



                                     11
Appellate Case: 24-1464   Page: 18   Date Filed: 07/17/2024 Entry ID: 5414272
affidavits of expert review, Minn. Stat. § 145.682. Id. at 11-13, App.

24-26, R. Doc. at 11-13. The grounds for this conclusion are similar to

those for the R. & R.’s conclusion that the affidavit is inadmissible—

the expert’s affidavit “does not include any details regarding the

applicable standard of care and fails to outline a chain of causation

between Defendant’s actions and Mancini’s injury”; “does not say what

actions would have satisfied” the supposed standard of care; “does not

connect [Mancini’s] worsened symptoms with a poor post-surgical

outcome”; and generally “fails to illustrate how and why Defendant’s

alleged malpractice caused the injury.” Id. at 12, App. 25, R. Doc. at

12. As a result, the R. & R. recommended the court grant Defendant’s

motion, exclude Mancini’s expert testimony, and dismiss the case with

prejudice. Id. at 13, App. 26, R. Doc. at 13.

      Mancini objected to the R. & R., but the district court overruled

the objections and adopted the R. & R. in full. Appellant’s Add. 27,

App. 13, R. Doc. 195 at 13. Dr. Wyard’s affidavit, the court held, “does

not meet the level of specificity required by Minnesota law.”

Appellant’s Add. 20, App. 6, R. Doc. 195 at 6. “The problem,” the court

explained, is Dr. Wyard “never defines the standard or standards [of



                                     12
Appellate Case: 24-1464   Page: 19   Date Filed: 07/17/2024 Entry ID: 5414272
care] he references” and fails to “offer any causal connection between

the breach of the standard of care and Mr. Mancini’s injuries.” Id.,

App. 6, R. Doc. 195 at 6. Rather, according to the district court, “Dr.

Wyard offers only the sort of broad, ‘empty conclusions’ the Minnesota

Supreme Court disapproved in” a variety of cases over the years. Id.

at 21, App. 7, R. Doc. 195 at 7.

      The district court went on to examine Dr. Wyard’s opinions

under Rule 702 and Daubert. Id. “Even if Dr. Wyard’s opinions were

sufficient under Minnesota statute,” the district court held, the case

must be dismissed because the opinion is inadmissible. Id. The

affidavit, the district court agreed, was insufficient for several reasons,

including that “Dr. Wyard does not identify the ‘principles and

methods’—or the application of those principles and methods—he

used to evaluate Mr. Mancini’s condition,” and that he “does not

identify the standard of care that should have been used, nor describe

how or why delays in Mr. Mancini’s treatment caused his present

injuries.” Id. at 24, App. 10, R. Doc. 195 at 10.

      The district court also considered and rejected two objections

Mancini now raises on appeal. First, the R. & R.’s statement of



                                     13
Appellate Case: 24-1464   Page: 20   Date Filed: 07/17/2024 Entry ID: 5414272
undisputed facts did not draw “inferences in Defendant’s favor,” the

district court held, because Mancini’s “characterization of the facts in

the [R. & R.] does not affect the fundamental problems with Mr.

Mancini’s case” and “the outcome would be the same” even “[w]ere the

facts to be rewritten to include mention of the facts Mr. Mancini posits

are missing.” Id. at 25, App. 11, R. Doc. 195 at 11. And second,

Mancini’s proposed “alternate curing option of ordering Defendant to

depose Dr. Wyard” is inappropriate because this is “not one of the

‘borderline cases’ where an alternative to dismissal should be

employed.” Id. at 26–27, App. 12-13, R. Doc. 195 at 12–13.

      The district court therefore overruled Mancini’s objections,

accepted the R. & R. in full, granted the United States’s motion for

summary judgment, and dismissed Mancini’s claim with prejudice. Id.

at 27, App. 13, R. Doc. 195 at 13.

      Mancini appeals, reasserting his twice-rejected arguments.




                                     14
Appellate Case: 24-1464   Page: 21   Date Filed: 07/17/2024 Entry ID: 5414272
                  SUMMARY OF THE ARGUMENT

      The Court should affirm summary judgment for the United

States for two independently dispositive reasons. First, the opinions

contained in Mancini’s expert-disclosure affidavit are inadmissible

under Federal Rule of Evidence 702 and Daubert. And second,

Mancini’s broad and conclusory expert-disclosure affidavit fails to

show his malpractice claim has any merit as required by state law.

      Mancini’s medical malpractice claim requires he submit expert

testimony on the standard of care, its breach, and causation. Walton

v. Jones, 286 N.W.2d 710, 714 (Minn. 1979). To overcome summary

judgment, Mancini offered the affidavit of Dr. Gary Wyard. But Dr.

Wyard’s conclusions, the district court correctly held, were “too

speculative and unsupported to be admissible under Rule 702 and

Daubert.” Id. at 25 (quoting R. & R., id. at 9). The district court was

well within its broad discretion to exclude Dr. Wyard’s opinions from

trial, without which, Mancini’s medical malpractice claim fails as a

matter of law.

      Mancini’s expert-disclosure affidavit fails to meet the most basic

requirements of Minnesota law. To reduce meritless malpractice



                                     15
Appellate Case: 24-1464   Page: 22   Date Filed: 07/17/2024 Entry ID: 5414272
litigation, Minnesota law requires malpractice plaintiffs to disclose an

expert opinion describing “the substance of the facts and opinions to

which the expert is expected to testify, and a summary of the grounds

for each opinion.” Minn. Stat. § 145.682, subd. 4(a). The state’s high

court has long required these expert affidavits to state more than

“empty conclusions which . . . can mask a frivolous claim.” Sorenson v.

St. Paul Ramsey Med. Ctr., 457 N.W.2d 188, 193 (Minn. 1990).

Instead, the affidavit must (1) “disclose specific details” about the

standard of care, (2) point to a breach of that standard, and (3) outline

the causal chain between the breach and the plaintiff’s damages.

Teffeteller v. Univ. of Minn., 645 N.W.2d 420, 428 (Minn. 2002). The

district court correctly held that Mancini’s expert witness, Dr. Gary

Wyard, failed this test. And it correctly dismissed Mancini’s

malpractice claim, as the statute requires, instead of constructing an

extratextual safe harbor.




                                     16
Appellate Case: 24-1464   Page: 23   Date Filed: 07/17/2024 Entry ID: 5414272
                               ARGUMENT

I.    The district court did not abuse its discretion by
      excluding Dr. Wyard’s opinions under Rule 702.

      A.     Standard of Review

      The Court should begin and end its analysis by affirming the

district court’s decision to exclude Dr. Wyard’s testimony from

evidence. The Court reviews that decision for an abuse of discretion,

even at the summary-judgment stage, and should reverse only if the

district court’s “ruling is manifestly erroneous.” Gen. Elec. Co. v.

Joiner, 522 U.S. 136, 142–43 (1997) (quoting Spring Co. v. Edgar, 99

U.S. 645, 658 (1879)). “Deference,” the United States Supreme Court

says, “is the hallmark of abuse-of-discretion review.” Id.

      B.     The district court properly exercised its discretion
             by excluding Dr. Wyard’s opinions under Rule 702
             and Daubert.

      The district court correctly excluded Dr. Wyard’s proposed

testimony, requiring summary judgment for the government. The

newly amended Federal Rule of Evidence 702 requires the proponent

of expert testimony to show “it is more likely than not that”:

      (a) the expert’s scientific, technical, or other specialized
      knowledge will help the trier of fact to understand the
      evidence or to determine a fact in issue;


                                     17
Appellate Case: 24-1464   Page: 24   Date Filed: 07/17/2024 Entry ID: 5414272
      (b) the testimony is based on sufficient facts or data;

      (c) the testimony is the product of reliable principles and
      methods; and

      (d) the expert’s opinion reflects a reliable application of
      the principles and methods to the facts of the case.

Fed. R. Evid. 702 (amended effected Dec. 1, 2023). Dr. Wyard’s

proposed testimony satisfied none of these factors.

      Mancini misstates the law in his effort to assign error. He

contends, “It was for the factfinder to decide whether Dr. Wyard’s

opinions are sound.” Appellant’s Br. at 20. But it is the district court,

not the factfinder, that acts as gatekeeper to ensure Rule 702’s

foundational requirements are satisfied. Kumho Tire Co., Ltd. v.

Carmichael, 526 U.S. 137, 141 (1999); see also Fed. R. Evid. 104(a)

(“The court must decide any preliminary question about whether a

witness is qualified . . . or evidence is admissible.”). Rule 702 makes

clear what this Court has long held: “The proponent of expert

testimony must prove its admissibility by a preponderance of the

evidence.” Lauzon v. Senco, 270 F.3d 681, 686 (8th Cir. 2001). The

district court properly acted as gatekeeper and did not abuse its

discretion by finding Dr. Wyard’s opinions are unsound.



                                     18
Appellate Case: 24-1464   Page: 25   Date Filed: 07/17/2024 Entry ID: 5414272
             1.    Mancini did not show that Dr. Wyard is
                   qualified to opine about other professionals in
                   other medical specialties.

      Mancini failed to show Dr. Wyard—an orthopedic surgeon—is

qualified to opine about professions other than his own. Appellant’s

Add. 23–24, App. 9-10, R. Doc. 195 at 9–10. Dr. Wyard is a board-

certified Orthopedic Surgeon, but his “curriculum vitae is not attached

to his affidavit” or “the parties’ other submitted exhibits.” Id.; App.

257, R. Doc. 177-4, ¶ 2. Mancini therefore did not show how Dr.

Wyard’s “scientific, technical, or other specialized knowledge”

qualifies him to supply the standard of care applicable to lower-level

providers in a primary care setting.

      Dr. Wyard’s “academic training, licensure, and scope of practice”

do not qualify him to opine about professionals with different

trainings, licensures, and scopes of practice. See Shipp v. Murphy, 9

F.4th 694, 701 (8th Cir. 2021) (nurse practitioner not qualified to

establish physician’s standard of care); Wall v. Fairview Hosp. and

Healthcare Servs., 584 N.W.2d 395, 405 (Minn. 1998) (“[W]e hold as a

matter of law that [a psychologist and psychotherapist] are not

competent to testify about the appropriate standard of care for a



                                     19
Appellate Case: 24-1464   Page: 26   Date Filed: 07/17/2024 Entry ID: 5414272
psychiatric nurse.”). Mancini’s case depends on Dr. Wyard’s opinions

applying to the federal employees whose care is at issue: nurses, a PA,

and a primary-care doctor. With no evidence showing this orthopedic

surgeon’s qualifications to opine about the standards of care applicable

to other professionals in a primary care setting, the district court could

not assess whether Dr. Wyard is qualified.

      Nonetheless, the court “assum[ed]” without deciding that Dr.

Wyard is qualified and proceeded to analyze the more egregious

failures in his affidavit. Appellant’s Add. at 24, App. 10, R. Doc. 195 at

10. Mancini mischaracterizes the district court’s assumption as an

affirmative finding that Dr. Wyard is qualified. Appellant’s Br. at 17–

18. But the district court’s decision speaks for itself—Mancini failed to

show Dr. Wyard’s qualifications to opine about the standards of care

in other specialties and professions, Appellant’s Add. at 23, App. 9, R.

Doc. 195 at 9, and the district court did not abuse its discretion by

excluding his testimony.

             2.    Dr. Wyard made critical factual errors that
                   undermine the factual basis for his opinions.

      Worse, Dr. Wyard’s brief affidavit is shot through with “factual

errors and contradictions to record evidence that give the Court cause


                                     20
Appellate Case: 24-1464   Page: 27   Date Filed: 07/17/2024 Entry ID: 5414272
for concern.” Appellant’s Add. 24, App. 10, R. Doc. 195 at 10. An

expert’s opinions are inadmissible if they are “unsupported by

sufficient facts, or contrary to the facts of the case.” Marmo v. Tyson

Fresh Meats, Inc., 457 F.3d 748, 757 (8th Cir. 2006). The district

court’s finding that Dr. Wyard’s “factual errors and contradictions to

record evidence” undermined the reliability of his opinions was not

manifestly erroneous. The Court should not disturb the district court’s

exercise of its discretion.

      Dr. Wyard’s opinions are based on a misreading of Mancini’s

MRI findings. He concludes, without any citation to evidence, that

“Plaintiff’s MRI showed . . . spinal cord compression.” App. 258, R.

Doc. 177-4 at 2, ¶ 9. But the records of that MRI expressly contradict

that conclusion, finding “No cord compression or abnormal cord

signal.” S.App. 104, R. Doc. 178-9 at 2. With no explanation for how

this counterfactual reading of the record informed Dr. Wyard’s

conclusions, Mancini cannot meet his burden of showing Dr. Wyard’s

opinions are based on sufficient facts.

      Dr. Wyard also twice misstates Mancini’s surgery date. It is

undisputed that Mancini’s surgery occurred on November 27, 2017,



                                     21
Appellate Case: 24-1464   Page: 28   Date Filed: 07/17/2024 Entry ID: 5414272
and that he was discharged three days later. S.App. 92–93, R. Doc.

178-4 at 1–2 (noting “Discharge Date: 11/30/2017” and “Date of

Surgery: 11/27/17”). But Dr. Wyard reports—not once but twice—that

the surgery occurred on November 30, 2018. App. 258–59, R. Doc. 177-

4 at 3, ¶¶ 13–14. This both misstates the year of the surgery and

confuses Mancini’s surgery date with his discharge date—a detail a

careful orthopedic surgeon should understand. These factual errors,

the district court held, were enough to “give the Court cause for

concern.” Appellant’s Add. at 24, App. 10, R. Doc. 195 at 10.

      Mancini ignores the district court’s concerns and this Court’s

standard of review. He does not address Dr. Wyard’s fundamental

misreading of the MRI result and misdiagnosis of Mancini’s condition.

He then seeks to minimize Dr. Wyard’s mistakes as “simple

misstatements of dates” that “are hardly worthy of the extreme

sanction of exclusion.” Appellant’s Br. at 19. But it is the district

court’s role to determine what factual errors justify excluding an

expert’s testimony, and Mancini fails to explain how the district

court’s determination amounts to an abuse of discretion. In a case

involving an alleged delay of care, failing to reliably account for the



                                     22
Appellate Case: 24-1464   Page: 29   Date Filed: 07/17/2024 Entry ID: 5414272
relevant dates shows more than just Dr. Wyard’s carelessness with

facts; it is a critical error undermining the entire opinion. Exclusion

was well within the court’s discretion.

             3.    Dr. Wyard does not identify or apply any
                   reliable principle or method to reach his
                   conclusions.

      Worse yet, Dr. Wyard does “not identify the ‘principles and

methods’—or the application of those principles and methods—he

used to evaluate Mr. Mancini’s condition.” Appellant’s Add. 24, App.

10, R. Doc. 195 at 10. Rule 702 requires that an expert’s opinions must

be “the product of reliable principles and methods,” and the expert

must “reliably appl[y] the principles and methods to the facts of the

case.” Fed. R. 702(c), (d). This requires a “flexible and fact specific”

approach, including “whether the theory or technique is subject to

testing, whether it has been tested, whether it has been subjected to

peer review and publication, whether there is a high known or

potential rate of error associated with it, and whether it is generally

accepted within the relevant community.” Unrein v. Timesavers, Inc.,

394 F.3d 1008, 1011 (8th Cir. 2005). The district court must exclude

expert testimony that “is connected to the existing data only by the



                                     23
Appellate Case: 24-1464   Page: 30   Date Filed: 07/17/2024 Entry ID: 5414272
ipse dixit of the expert.” Marmo, 457 F.3d at 758 (quoting Gen. Elec.

Co., 522 U.S. at 146).

      Dr. Wyard’s unadorned conclusions are classic ipse dixit. Dr.

Wyard, the district court held, “does not identify the standard of care

that should have been used, nor describe how or why delays in Mr.

Mancini’s treatment caused his present injuries.” Appellant’s Add. 24,

App. 10, R. Doc. 195 at 10. He cites no diagnostic criteria or clinical

guidance showing a person presenting with Mancini’s condition

requires emergency surgery. He points to no medical studies and

conducts no differential diagnosis to show a delay caused Mancini’s

permanent condition.6 He fails to “exclude confounding factors,” like

the known risk of nerve injury during Mancini’s surgery, “leav[ing]

open the possibility of competing causes[.]” Marmo, 457 F.3d at 758

(quoting Reference Manual on Scientific Evidence, at 428–29). The




      6 A reliable differential diagnosis requires ruling in the
purported cause and ruling out others. But the expert must show his
work to ensure reliability. See, e.g., Bland v. Verizon Wireless, (VAW)
L.L.C., 538 F.3d 893, 897 (8th Cir. 2008) (affirming exclusion of
unreliable differential diagnosis); Glastetter v. Novartis Pharms.
Corp., 252 F.3d 986, 989 (8th Cir. 2001) (same); Turner v. Iowa Fire
Equip. Co., 229 F.3d 1202, 1208 (8th Cir. 2000) (same).


                                     24
Appellate Case: 24-1464   Page: 31   Date Filed: 07/17/2024 Entry ID: 5414272
district court did not abuse its discretion by finding Dr. Wyard’s bare

conclusions inadmissible.

       Mancini asks the Court to take Dr. Wyard’s word for it. Because

Dr. Wyard claims to have reviewed “the medical records available to

Plaintiff” and to have relied on his education, training, and experience,

Mancini contends the resulting opinions are reliable. Appellant’s Br.

at 18. But if Dr. Wyard wanted the district court to credit his supposed

experience and review of the medical records, he needed to “explain

how that experience leads to the conclusion reached, why that

experience is a sufficient basis for the opinion, and how that

experience is reliably applied to the facts.” Fed. R. Evid. 702, advisory

committee’s notes (2000 amendments). “The trial court’s gatekeeping

function requires more than simply ‘taking the expert’s word for it.’”

Id.

II.   Mancini’s expert affidavit             failed    to    comply      with
      Minnesota substantive law.

      A.     Standard of Review

      Mancini next challenges the district court’s interpretation and

application of Minnesota’s certificate-of-merit statute, Minn. Stat.

§ 145.682. Appellant’s Br. at 9–16. The Court reviews that decision de


                                     25
Appellate Case: 24-1464   Page: 32   Date Filed: 07/17/2024 Entry ID: 5414272
novo. Stowell v. Huddleston, 643 F.3d 631, 633 (8th Cir. 2011). He also

asserts a related challenge to the district court’s refusal to extend the

statute’s deadline and require further discovery. Appellant’s Br. at 24–

25. This challenge, by contrast, is subject to the abuse-of-discretion

standard. Flores v. United States, 689 F.3d 894, 900 (8th Cir. 2012).

      B.     Dr. Wyard’s broad and conclusory affidavit fails to
             meet the requirements of section 145.682.

      Plaintiffs bringing medical malpractice cases under Minnesota

law must show their claims have merit early in litigation. Minn. Stat.

§ 145.682. To weed out frivolous malpractice claims, the law requires

plaintiffs to disclose an expert affidavit describing “the substance of

the facts and opinions to which the expert is expected to testify, and a

summary of the grounds for each opinion.” Id., subd. 4(a). The remedy

for failing to comply is dismissal with prejudice. Id., subd. 6(c).

      Minnesota’s courts interpret this statute to require more than

“empty conclusions[,] which . . . can mask a frivolous claim.” Sorenson

v. St. Paul Ramsey Med. Ctr., 457 N.W.2d 188, 193 (Minn. 1990).

Instead, the affidavit must (1) “disclose specific details” about the

standard of care, (2) point to a breach of that standard, and (3) outline

the causal chain between the breach and the plaintiff’s damages.


                                     26
Appellate Case: 24-1464   Page: 33   Date Filed: 07/17/2024 Entry ID: 5414272
Teffeteller v. Univ. of Minn., 645 N.W.2d 420, 428 (Minn. 2002).

Minnesota courts demand “strict compliance with the requirements of

Minn. Stat. § 145.682.” Broehm v. Mayo Clinic Rochester, 690 N.W.2d

721, 726 (Minn. 2005). “We have been firm in holding that failure by

the plaintiff to strictly satisfy the requirements under Minn. Stat.

§ 145.682, subd. 4(a) results in dismissal of the claim with prejudice.”

Id. The district court correctly held that the expert disclosure affidavit

did not satisfy the statute.

             1.    Dr. Wyard’s affidavit fails             to   specifically
                   describe the standard of care.

      Start with Dr. Wyard’s standard-of-care opinion. Dr. Wyard

references the “applicable standard of care,” “the appropriate amount

of time,” “the proper standard of care,” and “the preoperative standard

of care.” App. 257–58, R. Doc. 177-4 at 1–2, ¶¶ 4, 5, 8, 12. He also

charges “Defendant” with “failing to treat Plaintiff in the appropriate

amount of time,” “deviat[ing] from the proper standard of care,” and

engaging in “undue delay.” Id., ¶¶ 5, 8, 12. But Dr. Wyard never

“defines the standard or standards he references.” Appellant’s Add. 20,

App. 6, R. Doc. 195 at 6 (emphasis added). Observing that a patient

should receive “proper” care within “the appropriate amount of time”


                                     27
Appellate Case: 24-1464   Page: 34   Date Filed: 07/17/2024 Entry ID: 5414272
and “without undue delay” does not constitute a standard of care—it

is an empty conclusion.

      Dr. Wyard’s “empty conclusions” cannot satisfy the statute’s

requirements. See Sorenson, 457 N.W.2d at 193. A medical standard

of care is comprised of the acts or omissions a reasonably skilled

provider in her particular field would have taken under circumstances

like those confronted by the defendant. Stowell, 643 F.3d at 634;

Mattke v. Deschamps, 374 F.3d 667, 671 (8th Cir. 2004). Dr. Wyard’s

affidavit fails to disclose these most basic requirements.

      Dr. Wyard does not say what the applicable standard of care

required. An expert who testifies he “is familiar with the applicable

standard of care but fails to state what it was or how the [medical

provider] departed from it” fails to support a prima facie malpractice

case. Lindberg v. Health Partners, Inc., 599 N.W.2d 572, 576–78

(Minn. 1999). Observing that injury “should be avoided” isn’t enough

either. Anderson v. Rengachary, 608 N.W.2d 843, 848 (Minn. 2000);

Sorenson, 457 N.W.2d at 192–93 (“To state, as was done in this case,

that the defendants ‘failed to properly evaluate’ and ‘failed to properly

diagnose’ is not enough.”). Instead of simply pointing to an undesirable



                                     28
Appellate Case: 24-1464   Page: 35   Date Filed: 07/17/2024 Entry ID: 5414272
outcome, the expert must “state what particular measures a physician

should take to avoid” the injury and “describe the defendant’s acts or

omissions that allegedly violated the standard of care and caused the

injury.” Anderson, 608 N.W.2d at 848 (emphasis added).

      Dr. Wyard’s affidavit, the district court held, is limited to

referencing “the appropriate amount of time,” accusing unnamed

providers of “undue delay,” and alleging “deviations” from the

standard of care. Appellant’s Add. at 20, App. 6, R. Doc. 195 at 6

(quoting App. 257–59, R. Doc. 177-4, ¶¶ 5, 8, 12, 15). But none of these

empty conclusions identifies any act or omission a reasonably skilled

nurse, PA, or primary care doctor would have taken under similar

circumstances. Merely attaching the “standard of care” label fails to

“disclose the substance of” Dr. Wyard’s opinion on what a reasonable

surgical timeline would have been. See Minn. Stat. § 145.682, subd.

4(a) (emphasis added).

      Dr. Wyard also fails to show how a reasonable provider under

the circumstances would have known Mancini required earlier

treatment. Minnesota law requires more than merely showing a

provider’s treatment was unsuccessful. See Klisch v. Meritcare Med.



                                     29
Appellate Case: 24-1464   Page: 36   Date Filed: 07/17/2024 Entry ID: 5414272
Grp., Inc., 134 F.3d 1356, 1359 (8th Cir. 1998) (“Foresight, not

hindsight, is the standard of negligence.”). The plaintiff must instead

show the provider failed to give reasonable care under the

circumstances known or reasonably available to them at the time. Id.

at 1360 (citing Oulelette v. Subak, 391 N.W.2d 810, 816 (Minn. 1986)).

If the facts available would not have alerted a reasonable provider that

Mancini’s chronic symptoms suddenly required emergency surgery,

then the standard of care does not require an emergency surgery.

      Dr. Wyard does not show how the available facts, without the

benefit of hindsight, would have alerted a reasonable provider that

emergency surgery was necessary. It is undisputed that Mancini

presented with “the exact same sx [symptoms] as in the past.” S.App.

90, R. Doc. 178-3 at 1. As PA Southwick explained in her deposition,

“When people have pain for longstanding periods of time, it becomes

more difficult to clarify whether the pain they’re reporting now is

different than what they’ve been reporting on previous evaluations. So

everybody’s determination of that can vary on the emergency of it.”

App. 568, R. Doc. 177-7 at 86. It is also undisputed that the

conservative treatment provided to Mancini resulted in his reporting



                                     30
Appellate Case: 24-1464   Page: 37   Date Filed: 07/17/2024 Entry ID: 5414272
decreased pain symptoms in the months that followed. Compare

S.App. 30 (reporting “pain is gone” in November), 35 (reporting “no

pain” in October), 102 (reporting pain in the “2-3” range in August)

with id. at 105 (reporting pain in the “8-9-10” range in June). By

stating the standard of care in only broad, conclusory terms, Dr.

Wyard offers only his post-hoc judgment without any insight into how

a reasonable provider under these circumstances would have handled

this case differently.

      Dr. Wyard did not identify to whom his supposed standard of

care applies. The medical standard of care in Minnesota is specific to

a “particular field of inquiry.” Mattke, 374 F.3d at 671 (quoting

Swanson v. Chatterton, 160 N.W.2d 662, 669 (Minn. 1968)); see also

Stowell, 643 F.3d at 635 (holding ophthalmologist not qualified to

opine on the standard of care applicable to orthopedic surgeon). And

yet, despite the variety of professionals whose conduct is at issue in

this case, Dr. Wyard offers no hint of who is bound by his supposed




                                     31
Appellate Case: 24-1464   Page: 38   Date Filed: 07/17/2024 Entry ID: 5414272
standard of care, attributing its breach instead to “Defendant.” 7 App.

257, R. Doc. 177-4 at 1, ¶ 5.

      These are the most basic characteristics of a standard of care,

left entirely undisclosed in Dr. Wyard’s affidavit. The closest Dr.

Wyard comes to establishing a standard of care and its breach is

charging the United States with failing to ensure Mancini did not eat

before surgery, citing the institution’s policy. App. 258, R. Doc. 177-4

at 2, ¶¶ 11, 12. But this omission does not amount to a breach of the

standard of care unless Mancini’s rescheduled surgery occurred

beyond what a reasonably skilled provider would have offered under

the circumstances.

      Because Dr. Wyard did not say what a reasonable surgical

timeline would have been, Mancini cannot show that a reasonably

skilled professional would have ensured his surgery occurred sooner.



      7 The only specific individuals mentioned in Dr. Wyard’s affidavit

are Dr. Thomas Mayer, a primary care physician, and Dr. Stephen
Broadway, a neurosurgeon. App. 258–59, R. Doc. 177-4 at 2–3, ¶¶ 7,
10, 13. Both were contractors, not employees. App. 50, R. Doc. 177-2
at 40; R. Doc. 66 at 13. Acts or omissions by independent contractors
are not attributable to the United States in this FTCA action. 28
U.S.C. §§ 1346(b)(1), 2671; Knudsen v. United States, 254 F.3d 747,
750 (8th Cir. 2001).


                                     32
Appellate Case: 24-1464   Page: 39   Date Filed: 07/17/2024 Entry ID: 5414272
The district court correctly held that the expert’s empty conclusions

failed to adequately disclose the applicable standard of care. The Court

should affirm that decision.

             2.    The affidavit does not outline the supposed
                   chain of causation.

      The emptiness of Dr. Wyard’s standard-of-care conclusion is

matched only by his conclusory treatment of causation. An expert-

disclosure affidavit must offer more than “broad, conclusory

statements as to causation.” Stroud v. Hennepin County Med. Ctr., 556

N.W.2d 552, 556 (Minn. 1996). The expert must “include an outline of

the chain of causation between the violation of the standard of care

and the plaintiff’s damages” and “illustrate ‘how’ and ‘why’ the alleged

malpractice caused the injury.” Teffeteller, 645 N.W.2d at 428, 429 n.4.

      Dr. Wyard does not “offer any causal connection between the

breach of the standard of care and Mr. Mancini’s injuries.” Appellant’s

Add. 20, App. 6, R. Doc. 195 at 6. Delay in care alone is not enough to

show causation under Minnesota law. Leubner v. Sterner, 493 N.W.2d

119, 122 (Minn. 1992) (“[I]f a delay in [care] is enough in itself, expert

testimony on causation would not be necessary.”). That is all Dr.

Wyard offers. His causation opinion is composed of just two sentences:


                                     33
Appellate Case: 24-1464   Page: 40   Date Filed: 07/17/2024 Entry ID: 5414272
“This string of delays resulted in Plaintiff’s symptoms worsening

significantly” between his first complaint and his surgery, and “[a]s a

result of Defendant’s deviations from the standard of care for an

ACDF, Plaintiff has suffered permanent” injuries. App. 259, R. Doc.

177-4 at 3, ¶¶ 14–15. This unexplained leap from an alleged delay to

damages is insufficient to show causation.

      Compare the two sentences in Dr. Wyard’s affidavit to the expert

opinions in Stroud, Lindberg, Anderson and Teffeteller, each of which

the state supreme court found deficient:

   • Stroud, 556 N.W.2d at 554: “I . . . will testify that as a result of

      the breach of the standard of care . . . there was a failure to

      diagnose and treat a subarachnoid hemorrhage which ultimately

      resulted in a complicated hospital course and death of the

      Plaintiff.”

   • Lindberg, 599 N.W.2d at 575: “4. Based upon a reasonable degree

      of medical certainty, it is more probable than not, that if, among

      other things, Debra Lindberg had been instructed to seek

      medical treatment at the time of her phone call on the morning

      of March 28, 1994, Lukas Stewart Lindberg would not have died.



                                     34
Appellate Case: 24-1464   Page: 41   Date Filed: 07/17/2024 Entry ID: 5414272
      5. Based upon a reasonable degree of medical certainty, Lukas

      Stewart Lindberg died as a result of the negligent and careless

      conduct of the Defendants and/or their agents and employees,

      including midwife Sharon Nichols and Donne Mathiowitz.”

   • Anderson, 608 N.W.2d at 848: “[T]here was a deviation from the

      standard of care provided to this patient which caused the

      patient to have postoperative dysphasia [sic] of undetermined

      etiology.”

   • Teffeteller, 645 N.W.2d at 425: “[I]t is Dr. Perloff’s opinion that

      had     Thad    Roddy’s        clinical   status    [been]    appreciated

      as Morphine toxicity at about 8:30 a.m., and had appropriate

      treatment measures been utilized, i.e. frequent boluses or a

      continuous infusion of naloxone continuously monitored by a

      physician, Thad Roddy, to a reasonable degree of medical

      probability would have been revived successfully. Finally, it is

      Dr. Perloff’s opinion that the departures from accepted levels of

      care, as above identified, were a direct cause of Thad Roddy’s

      death.”




                                        35
Appellate Case: 24-1464   Page: 42      Date Filed: 07/17/2024 Entry ID: 5414272
       The Minnesota Supreme Court, in each of these cases, found the

expert opinion failed to adequately show causation. Each of these

statements was at least as detailed as Dr. Wyard’s.

             3.    The Minnesota Supreme Court’s decision in
                   Rygwall does not change the analysis.

       The supreme court’s latest entry reaffirms this long line of cases.

In Rygwall, as Trustee for Rygwall v. ACR Homes, Inc., the Minnesota

Supreme Court confronted an alleged delay in treatment and

discussed an acceptable causation opinion. See generally 6 N.W.3d 416

(Minn. 2024). The court discussed the long line of cases from Sorenson

to Teffeteller and reaffirmed those decisions. Id. at 431–435. “To show

causation in circumstances where expert testimony is necessary,” the

court explained, “the expert affidavit must include an opinion with

proper foundation and enough information about the specific case to

reassure the court that the jury will have sufficient information to

draw     a   reasonable     inference—without       speculating—that       the

provider’s conduct caused the plaintiff’s injury.” Id. at 435. Dr.

Wyard’s opinion fails this test.

       Contrast Dr. Wyard’s causation opinion with the expert opinion

at issue in Rygwall. In a ten-page affidavit, the expert there


                                     36
Appellate Case: 24-1464   Page: 43   Date Filed: 07/17/2024 Entry ID: 5414272
established a material dispute on causation by relying on “medical

studies showing that, for each hour of delay in administering

antibiotics, the risk of morbidity and mortality for someone in [the

plaintiff’s] position increases.” Id. at 435–36. By relying on medical

studies, the expert could testify “how” and “why” earlier treatment

would interrupt the progression of the plaintiff’s injuries without

inviting the jury to speculate. Id.

      Dr. Wyard, by contrast, does not disclose “the mechanism by

which” the alleged delay caused Mancini’s injuries. Specifically, Dr.

Wyard does not show how or why he concluded that Mancini’s

permanent injuries occurred during the alleged delay, instead of

before or after. Unlike the expert in Rygwall, Dr. Wyard does not cite

any medical literature causally connecting Mancini’s surgical timeline

with an increased risk of permanent injury. Nor does he point to any

evidence from the medical records showing worsening nerve

compression during the supposed delay in surgery, rather than before

or after. Despite claiming to have reviewed all the medical records, Dr.

Wyard does not discuss Mancini’s 2010, 2017, and 2019 imaging




                                      37
Appellate Case: 24-1464   Page: 44    Date Filed: 07/17/2024 Entry ID: 5414272
results to show his condition rapidly changed or required earlier

surgical intervention.8

      Medical malpractice is not strict liability. Without explaining

how or why the alleged breach caused Mancini’s damages, Dr. Wyard’s

opinions cannot meet the standard required by Minnesota law. The

Court should affirm the district court’s summary-judgment order.

      C.     The district court did not abuse its discretion by
             imposing the statute’s “mandatory dismissal with
             prejudice” remedy.

      Ignoring the standard of review, Mancini asserts the district

court erred by declining to extend discovery. Appellant’s Br. at 24–25.

This assignment of error is subject to the deferential abuse-of-

discretion standard. See Flores, 689 F.3d at 900 (“We conclude . . . that

the magistrate judge did not abuse her discretion in denying plaintiffs’

motion to extend deadlines to serve expert affidavits [under section

145.682].”). The district court did not abuse its discretion by declining

to reopen discovery and forestall the inevitable dismissal of Mancini’s

meritless malpractice case.


      8 In fact, it is undisputed that Mancini’s chronic condition had

changed “very little” between March 2010 and August 2017. App. at
839, R. Doc. 179-1 at 30.


                                     38
Appellate Case: 24-1464   Page: 45   Date Filed: 07/17/2024 Entry ID: 5414272
      Mancini’s insistence on a “less drastic” remedy proceeds from a

mistaken premise—that this is a “borderline case.” Appellant’s Br. at

24–25 (quoting Sorenson, 457 N.W.2d at 193). As the district court

held, “Dr. Wyard’s affidavit fails to identify the applicable standard of

care, and fails to causally connect Defendant’s alleged breach of the

standard to Mr. Mancini’s injuries.” Appellant’s Add. at 26–27, App.

12-13, R. Doc. 195 at 12–13. These are not mere technical

deficiencies9—they are “essential elements that must be included in

the affidavit to avoid dismissal.” Teffeteller, 645 N.W.2d at 428. The

district court was well within its discretion to dismiss rather than

prolong this case.

III. The district court correctly limited its analysis to the
     material facts.

      A.     Standard of Review

      Mancini also challenges the district court’s recitation of the facts.

Appellant’s Br. at 20–23. “Only disputes over facts that might affect


      9 Mancini’s counsel understandably refused to sign Dr. Wyard’s

grossly deficient affidavit, even though counsel’s signature is required
by section 145.682, subdivision 4(a). If that truly technical defect were
the only problem with Dr. Wyard’s affidavit, perhaps a different
remedy would be appropriate. But the United States challenged the
substantive deficiencies in Dr. Wyard’s opinion.


                                     39
Appellate Case: 24-1464   Page: 46   Date Filed: 07/17/2024 Entry ID: 5414272
the outcome of the suit under the governing law will properly preclude

the entry of summary judgment. Factual disputes that are irrelevant

or unnecessary will not be counted.” Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 248 (1986). Whether the undisputed, material facts

support summary judgment is reviewed de novo. Stowell, 643 F.3d at

633.

       B.    Mancini’s nonexpert speculation does not create a
             material factual dispute.

       Mancini cannot identify any material facts or inferences the

district court should have drawn in his favor. The supposed facts and

inferences he does identify would not change “the fundamental

problems with Mr. Mancini’s case.” Appellant’s Add. 26, App. 12, R.

Doc. 195 at 12. Because he has not shown expert testimony

interpreting and applying the facts he claims were omitted, those facts

are immaterial.

       Isolated facts and inferences from medical records, unmoored

from expert testimony, permit only speculation. Expert testimony is

necessary to interpret medical facts and explain to the factfinder how

they support each element of a malpractice claim. Sorenson, 457

N.W.2d at 192. The expert must “set out how the expert will use the


                                     40
Appellate Case: 24-1464   Page: 47   Date Filed: 07/17/2024 Entry ID: 5414272
facts in the hospital record to arrive at opinions of malpractice and

causation.” Stroud, 556 N.W.2d at 555. Anything less leaves the

factfinder to speculate. Silver v. Redleaf, 194 N.W.2d 271, 273 (Minn.

1972) (holding expert testimony is necessary to prevent factfinder

from speculating about medical causation).

      Mancini has not argued this is one of the “exceptional cases” in

which expert testimony is unnecessary. Sorenson, 457 N.W.2d at 191.

Without expert testimony explaining “how the expert will use the facts

in the hospital record to arrive at opinions of malpractice and

causation,” the supposedly omitted facts do nothing but invite the

factfinder to speculate about how those facts might establish the

standard of care, its breach, or causation. Stroud, 556 N.W.2d at 555;

Silver, 194 N.W.2d at 273. Those facts are therefore immaterial, and

the district court was right to disregard them.

                              CONCLUSION

      For all the foregoing reasons, the district court’s judgment

should be affirmed.




                                     41
Appellate Case: 24-1464   Page: 48   Date Filed: 07/17/2024 Entry ID: 5414272
Dated: July 15, 2024                       ANDREW M. LUGER
                                           United States Attorney

                                           /s/ David W. Fuller
                                           By: David W. Fuller
                                           Assistant U.S. Attorney
                                           Attorney ID No. 390922
                                           600 United States Courthouse
                                           300 South Fourth Street
                                           Minneapolis, MN 55415
                                           (612) 664-5600


                                           Attorneys for Appellee




                                     42
Appellate Case: 24-1464   Page: 49   Date Filed: 07/17/2024 Entry ID: 5414272
                  CERTIFICATE OF COMPLIANCE

      The undersigned attorney for the United States certifies this

brief complies with the type-volume limitation of Federal Rule of

Appellate Procedure 32. The brief has 7,646 words, proportionally

spaced using Century Schoolbook, 14-point font.               The brief was

prepared using Microsoft Word 365. The undersigned attorney also

certifies that the brief has been scanned for viruses and, to the best of

our ability and technology, believes it is virus-free.




Dated: July 15, 2024                       ANDREW M. LUGER
                                           United States Attorney


                                           /s/ David W. Fuller
                                           By: David W. Fuller
                                           Assistant U.S. Attorney

                                           Attorneys for Appellee




                                     43
Appellate Case: 24-1464   Page: 50   Date Filed: 07/17/2024 Entry ID: 5414272
